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AO 91 (Rev. 11/11) Criminal Complaint (Rev. by USAO on 3/12/20)         ‫ ܆‬Original    ‫ ܆‬Duplicate Original


                              UNITED STATES DISTRICT COURT
     5/20/2022                                           for the
                                                                                               05/20/2022
         DTA                                Central District of California

 United States of America

                 v.
                                                                   Case No. PM'87<
 KHANH KIM NGUYEN,

                 Defendant(s)


                           CRIMINAL COMPLAINT BY TELEPHONE
                          OR OTHER RELIABLE ELECTRONIC MEANS

         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.

On or about the date(s) of June 11, 2020, in Orange County, in the Central District of California, the

defendant(s) violated:

           Code Section                                            Offense Description

           18 U.S.C. § 1957                                        Engaging in monetary transactions in
                                                                   property derived from specified
                                                                   unlawful activity

         This criminal complaint is based on these facts:

         Please see attached affidavit.

         _ Continued on the attached sheet.

                                                                                         /s/
                                                                                 Complainant’s signature

                                                                              Atish Patel, Special Agent
                                                                                  Printed name and title
 Attested to by the applicant in accordance with the requirements of Fed. R. Crim.
                                                                                m P. 4.1 by
                                                                                         b telephone.
                                                                                            telep
                                                                                                phone.

 Date:             May 20, 2022
                                                                                     JJudge’s
                                                                                      Jud
                                                                                        dge’s sig
                                                                                              signature
                                                                                               i nature

 City and state: Santa Ana, California                                Hon. John D. Early, U.S. Magistrate Judge
                                                                                  Printed name and title

AUSA:__Daniel Ahn (x3539); Daniel Lim (x3538)___________
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                               A F F I D A V I T

        I, Atish Patel, being duly sworn, hereby declare and state

as follows:
                                  A. INTRODUCTION

        1.    I am a Special Agent (“SA”) of Internal Revenue

Service, Criminal Investigation (“IRS-CI”) and have served in

this capacity since in or around September 2005.             I am currently

assigned to the Santa Ana Post of Duty of the Los Angeles Field

Office of IRS-CI.        As an IRS-CI SA, I have investigated various

types of federal crimes, including criminal violations of the

Internal Revenue laws (Title 26, United States Code), the Bank

Secrecy Act (Title 31, United States Code), Money Laundering

Control Act laws (Title 18, United States Code, Sections 1956

and 1957), and related offenses, including identity theft and

wire fraud.       My professional and academic training includes

approximately six months of training at the Federal Law

Enforcement Training Center in Glynco, GA.            This training

included criminal investigative training with courses in law

enforcement techniques, federal criminal statutes, conducting

criminal investigations, and the execution of search warrants.

        2.    In addition to criminal investigative training, I

completed a Special Agent Basic Training course, which included

courses in financial investigative techniques, legal principles,

and statutes representing criminal violations of the United

States Code as enumerated in Titles 18, 26, and 31.             Further, I

have attended the Advanced Money Laundering seminar at the

National Advocacy Center as well as various other money
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laundering trainings and seminars.           I am certified as an Anti-

Money Laundering Specialist.          Before I joined IRS-CI, I obtained

a Bachelor of Arts degree in Business Administration from

California State University, Fullerton.

                             B. PURPOSE OF AFFIDAVIT
        3.    This affidavit is made in support of a criminal

complaint against and arrest warrant for KHANH KIM NGUYEN

(“NGUYEN”) for committing money laundering, in violation of

Title 18, United States Code, Section 1957.

        4.    The facts set forth in this affidavit are based upon

my personal observations, information obtained from other law

enforcement personnel, and my training and experience.              This

affidavit is intended to show merely that there is sufficient

probable cause for the requested complaint and warrant and does

not purport to set forth all my knowledge of or investigation

into this matter.        Unless specifically indicated otherwise, all

conversations and statements described in this affidavit are

related in substance and in part only.

                          C. SUMMARY OF PROBABLE CAUSE

        5.    There is probable cause that NGUYEN, from April 2020

to August 2020: (1) applied for an Economic Injury Disaster Loan

(“EIDL”) from the Small Business Administration (“SBA”);

(2) made material misrepresentations regarding use of the loan

funds and his role in a company in order to obtain the EIDL

loan; and (3) moved the fraudulently obtained loan funds (well

over $10,000) -- that had originated from Denver, Colorado --

from one personal bank account to another, which accounts were
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opened in Orange County, CA; and (4) used the funds not for

working capital for one business as he represented he would, but

instead to purchase additional and unrelated property.

                         D. STATEMENT OF PROBABLE CAUSE

        6.    I am part of the Orange County Asian Organized Crime

Task Force (OC AOCTF -- which consists of the Federal Bureau of

Investigation (“FBI”), IRS-CI, California Department of Justice

(“CalDOJ”), Santa Ana Police Department, and various other law

enforcement agencies -- and have been since May 2020.              The OC

AOCTF has been actively investigating illegal gambling locations

known as “nets,” “cafes,” and “slap houses” throughout the

Orange County area.

        7.    Based on information from OC AOCTF investigators, FBI

SA Gary Chen (“SA Chen”), CalDOJ SA Paul Yasutake (“SA

Yasutake”), and T-III intercepted communications, which I have

reviewed, I believe that NGUYEN is working for an owner/operator

of multiple nets, cafes, and slap houses in Orange County,

California, and is responsible for establishing various

businesses within the State of California and establishing

business bank accounts for that owner/operator.1             Specifically,

                          
1    A federal wiretap was authorized in the Central District of
California on or about August 20, 2020, and began on or about
August 26, 2020, targeting the owner/operator’s mobile phones.
Based on the initial intercepted communications between the
owner/operator and his associates, the federal wiretap was re-
authorized in the Central District of California on or about
October 15, 2020, and began on or about October 18, 2020. The
case numbers for these wiretaps are 8:20-CM-00032 and 8:20-CM-
00037.
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there are multiple communications on the aforementioned wires in

which NGUYEN keeps the owner/operator apprised of financial

issues related to the nets, cafés, and slap houses, including

those in Westminster, California.

        8.     Based on this information, on or about December 9,

2020, I queried a law enforcement database related to bank

filings and learned that NGUYEN had business and personal bank

accounts at Chase Bank.         NGUYEN’s business bank account was

opened under the name “Shark Investments, Inc.” (“Shark”).

Through the California Secretary of State’s Business Entity

Detail website, I learned that NGUYEN is listed as the owner of

Shark.       The statement of information lists Shark’s address as

8095 Westminster Blvd., Westminster, CA 92683.

        9.     On or about March 25, 2021, I obtained and reviewed

bank signature cards and statements for Shark at Chase Bank.

Shark is associated with Chase total business checking account

ending in -3801 (“Chase 3801”).          Nguyen is the sole signer and

authorized user for the account.            This account was opened on

March 21, 2018, at Chase bank branch located at 14011 Beach

Blvd., Westminster, CA 92683.

        10.    During an analysis of Chase 3801 bank statements, I

noticed a deposit on June 10, 2020 for $90,900.             The deposit

detail on the bank statement lists the originator as “Sbad Treas

310.”      I know through my training and experience that these are

funds from an EIDL loan, and the funds came from the SBA.

        11.    Based on my training and experience and review of SBA

EIDL program guidelines, I know that the EIDL program was an SBA
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program that provided low-interest financing to small

businesses, renters, and homeowners in regions affected by

declared disasters.        The Coronavirus Aid, Relief, and Economic

Security (“CARES”) Act -- a federal law enacted in or around

March 2020 to provide emergency financial assistance to

Americans suffering economic harm from the COVID-19 pandemic --

authorized the SBA to provide EIDL loans to eligible small

businesses experiencing substantial financial disruption due to

the COVID-19 pandemic.

        12.   In order to obtain an EIDL loan, a qualifying small

business had to submit an application to the SBA and provide

information about its operations.           EIDL applications were

submitted directly to the SBA.          If the application was approved,

the amount of the loan was determined based, in part, on the

information provided by the applicant.           The entity that applied

for the EIDL loan could also request that the SBA provide an

advance or emergency grant of $1,000 for each person that the

entity employed, up to $10,000.

        13.   Following the submission of the application, and prior

to and as a condition of the disbursement of the loan, the

applicant had to sign a Loan Authorization and Agreement

(“LA&A”), certifying that, among other things, the loan proceeds

would be used solely for business purposes.            Any funds issued

under an EIDL loan were issued directly by the SBA.

        14.   On or about March 3, 2021, I sought and received the

EIDL loan application and related documents for Shark from the

SBA.      The April 2, 2020 intake application and related documents
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confirm that NGUYEN, on behalf of Shark and as the purported CEO

and 100% owner of Shark, applied and was approved for a $3,000

advance as well as a loan for $91,000.           Further, on June 7,

2020, NGUYEN signed (via DocuSign) under penalty of perjury the

EIDL LA&A, acknowledging that the funds would be used solely for

“working capital to alleviate economic injury caused by disaster

occurring in the month of January 31, 2020, and continuing

thereafter.”       The documentation also shows that the intake

application, with NGUYEN’s representation that he was the CEO

and 100% owner of Shark, and LA&A were both submitted online.

        15.    On or about March 25, 2021, I obtained and reviewed

bank signature cards and statements for NGUYEN at Chase Bank.

NGUYEN is the sole signer and authorized user for the Chase

total checking account ending in 1597 (“Chase 1597”), which was

opened on March 8, 2016, at a Chase Bank branch located at 2569

E. Chapman Ave., Ste. 6A, Fullerton, CA 92831.

        16.    Based on my review of the aforementioned Chase 1597

and Chase 3801 bank records, EIDL records from the SBA, and

State of California business entity filings, I saw the following

activity, which describes activity from April 2020, when the

EIDL application was submitted, to August 2020, when the funds

were used for non-business purposes:

        Date              Activity

        04/02/2020        NGUYEN applies online for EIDL and EIDL

                          advance for Shark with the SBA.

        04/28/2020        EIDL advance of $3,000 is deposited into

                          Chase 3801.    The balance in this account was
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                          roughly $26,000 when the $3,000 was

                          deposited.

        05/07/2020        NGUYEN transfers $5,000 from Chase 3801 to

                          Chase 1597.

        05/07/2020        NGUYEN issues a $5,000 check from Chase 1597

                          to Apex Escrow.

        05/26/2020        NGUYEN submits LLC registration documents to

                          the State of California for Lucky DK

                          Investments LLC (“Lucky DK”).       The statement

                          of information sheet filed on June 29, 2020

                          also lists the aforementioned owner/operator

                          of nets and slap houses as a manager for

                          Lucky DK.    I reviewed Chase bank signature

                          cards for Lucky DK.     The DBA listed under

                          Lucky DK is Ocean Blue Restaurant & Lounge

                          (“OB”) and the address listed is 14541

                          Brookhurst St., Ste. A3, Westminster, CA

                          92683.

        06/07/2020        NGUYEN signs the LA&A via DocuSign,

                          certifying that he would use all the

                          proceeds of the loan solely as working

                          capital to alleviate economic injury.        SBA

                          approves the EIDL application.       He submits

                          the LA&A from IP Address 172.113.242.254,

                          which is an IP Address located in Santa

                          Monica, California, or Los Angeles,


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                          California, based on queries into IP Address

                          location databases.

        06/10/2020        $90,900 EIDL loan funds are deposited into

                          Chase 3801.    The balance in the account was

                          roughly $16,000 before the $90,900 was

                          deposited.

        06/11/2020        NGUYEN transfers $50,000 to Chase 1597 from

                          Chase 3801.

        06/12/2020        Check #160 for $45,000 is issued to United

                          Commercial Holdings, LLC from Chase 1597.

                          The memo line states “for A3 security

                          deposit.”    Suite A3 is the suite number for

                          OB, as described above.

        08/03/2020        NGUYEN initiates a $45,000 wire transfer

                          from Chase 3801 to Apex Escrow, whose office

                          is located at 15440 Beach Blvd., Suite 131,

                          Westminster, CA 92683.2

        17.   On or about September 15, 2021, I reviewed the escrow

file from Apex Escrow for the purchase of OB.            I confirmed that:

(1) Apex Escrow opened an escrow account for the purchase of OB

-- with the same address as above, 14541 Brookhurst St., Ste.

A3, Westminster, CA 92683 -- at a price of $80,000; and

(2) NGUYEN was the purchaser of OB and that the sale was
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   Notably, on May 17, 2022, SBA Office of Inspector General
SA Timothy Massino confirmed to me that EIDL loan proceeds are
not to be used to start or expand a business, and that the
manner in which NGUYEN used the funds was not authorized.
Further, on May 18, 2022, SA Massino confirmed to me that EIDL
payments from the SBA are initiated in Denver, Colorado.    

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completed on or about October 5, 2020.        Further, the file

contained a receipt for $5,000 of earnest money, or a deposit,

from NGUYEN, and a receipt for a $45,000 wire from Shark.           The

wire originated from Chase 3801.

      18.   On or about November 9, 2021, I interviewed NGUYEN at

his residence located at 11562 Mac St., Garden Grove, CA 92841.

During the voluntary interview, NGUYEN admitted he was not the

true owner of Shark or Lucky DK, and in fact the aforementioned

owner/operator was the true owner.        He noted that the

owner/operator is at OB daily and runs the business.          NGUYEN’s

responsibilities were to pay the rent and utilities at the

businesses and in return he received $1,500 a month from the

owner/operator as compensation.       According to NGUYEN, the day-

to-day operations of Shark were managed by another individual,

and they were not NGUYEN’s responsibility.

      19.   During the same interview, NGUYEN initially stated he

used the EIDL proceeds to pay for rent, utilities, and payroll.

After showing NGUYEN the bank statements for Shark and the

movement of EIDL funds from the Shark account to his personal

account, NGUYEN admitted he used the EIDL funds to pay for the

acquisition of OB and stated it was the aforementioned

owner/operator’s idea to apply for the EIDL loan.

      20.   Also during the same interview, NGUYEN stated the

owner/operator gives him money to deposit into the bank

account(s), and that the deposits are intermingled with funds

from both the illegal gambling and café/food sales.          NGUYEN


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estimated about $20,000 a month was generated from the illegal

gambling.

                                E. CONCLUSION
      21.   For all the reasons described above, there is probable

cause to believe that NGUYEN has committed a violation of Title

18, United States Code, Section 1957 (money laundering in excess

of $10,000).




                                                /s/
                                         ATISH PATEL
                                         Special Agent, IRS-CI

Attested by the applicant in
accordance with the
requirements of Fed. R. Crim.
P. 4.1 by telephone on this
20th day of May,
____           , 2022.


JOHN
JO HN D. EARLY
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UNITED
UN
UNITED STATES MAGISTRATE
                   STRATE JUDGE
               MAGIST
                   ST     J




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